

ORDER

PER CURIAM:
AND NOW, this 20th day of April, 1994, there having been filed with this Court by Gerald Willard Weaver, II, his verified Statement of Resignation dated February 20, 1994, stating that he desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Gerald Willard Weaver, II, be and it is hereby accepted and he is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that he shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Mr. Justice Frank J. MONTEMURO is sitting by designation as Senior Justice pursuant to Judicial Assignment Docket No. 94 R1800, due to the unavailability of Mr. Justice Rolf LARSEN, see No. 127 Judicial Administration Docket No. 1, filed October 28, 1993.
